                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


     UNITED STATES OF AMERICA,                   )
                                                 )
     v.                                          )     Case No. 3:15-cr-00037-2
                                                 )     Judge Aleta A. Trauger
     BENJAMIN EDWARD HENRY                       )
     BRADLEY                                     )


                                        MEMORANDUM

          Before the court are the United States’ Motion for Entry of a Preliminary Order of

Forfeiture (Doc. No. 858) and Motion for an Order of Forfeiture of at Least a $1,000,000 United

States Currency Money Judgment (Doc. No. 861). The defendant has now responded to both

motions. (Doc. No. 958.) The United States filed a Reply, and the defendant, a Sur-reply. (Doc.

Nos. 986, 996.) For the reasons set forth herein, the United States’ motions will be granted.

I.        Background

          On March 3, 2015, the United States filed a two-count Indictment against the defendant,

charging him with conspiracy to possess with intent to distribute and conspiracy to distribute

Schedule II controlled substances, in violation of 21 U.S.C. §§ 841(a)(1) and 846 (Count One)

and money laundering in violation of 18 U.S.C. § 1956 (Count Two). (Doc. No. 3.) The

Indictment also contained forfeiture allegations, giving notice that, upon conviction, the

defendants would be jointly and severally responsible for forfeiting to the United States any

“property constituting, or derived from, any proceeds obtained, directly or indirectly, as a result

of” the conspiracy to distribute drugs, “including but not limited to a money judgment in an

amount to be determined, representing the gross drug proceeds obtained as a result of such

offense,” and “any property used, or intended to be used, . . . to commit, or to facilitate the




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commission of, such violation,” pursuant to 21 U.S.C. § 853(a)(1) and (2). (Doc. No. 3, at 5.)

The Indictment further provided for the forfeiture of any real or personal property involved in the

conspiracy to commit money laundering or traceable to such property, “including but not limited

to the proceeds of the violation and including but not limited to a money judgment in an amount

to be determined” (Doc. No. 3, at 7), and for the forfeiture of substitute property in accordance

with 21 U.S.C. § 853(p).

       On August 17, 2015, the United States filed a Bill of Particulars for Forfeiture of

Property that identified specific assets to be forfeited, including currency in the amount of

$46,300 seized from 15540 Prevost Street, Detroit, Michigan, and approximately $78,300 seized

from 45669 Harmony Lane, Belleville, Michigan. (Doc. No. 279.) On May 19, 2016, the United

States filed a Bill of Particulars for Forfeiture of Real Property, giving notice that it sought the

forfeiture of real property located at and commonly known as 14425 Curtis, 14427 Curtis, 16617

Leisure, and 15355 Ohio Street, in Detroit, Michigan, and 45669 Harmony Lane, Belleville,

Michigan. (Doc. No. 432.)

       The defendant, Benjamin Bradley, entered a guilty plea to both counts of the Indictment

on June 8, 2016 (see Order accepting Plea Petition, Doc. No. 478), and, after several

postponements, sentencing was scheduled for February 1, 2017 (Order, Doc. No. 784). The

United States filed the forfeiture motions and accompanying memoranda on January 31, 2017,

one day before the sentencing, making them, as the government acknowledged during the

sentencing hearing, somewhat “tardy.” (Doc. No. 919, at 5.) At the sentencing hearing, the

government represented that it intended to introduce whatever factual proof it had on forfeiture

and, specifically, that the evidence would “establish a nexus between the Subject Property and

the crimes of conviction.” (Id.)




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        In discussing the issue of forfeiture, the court recognized on the record that the applicable

rule requires that, “[a]s soon as practical . . . after a plea of guilty . . . , the court must determine

what property is subject to forfeiture.” Fed. R. Crim. P. 32.2(b)(1)(A). (See Doc. No. 191, at

282.) The court also noted that, if forfeiture is contested, “at either party’s request the Court is to

conduct a hearing and the Court is to enter the preliminary order sufficiently in advance of

sentencing to allow the parties to suggest revisions or modifications before the order becomes

final as to the defendant.” (Doc. No. 191, at 282 (referencing Fed. R. Crim. P. 32.2(b)(1)(A)).)

Because the defendant had not had the opportunity to respond to the government’s forfeiture

motions, the court established a briefing schedule and stated that it would “rule on the papers”

unless the defendant requested a hearing. (Id.) The motions have now been fully briefed and are

ripe for review. The defendant has not requested a hearing, but he contends that the United States

has failed to carry its burden of proof to support the forfeiture of the real property located at

45669 Harmony Lane, Belleville, Michigan.

II.     Legal Standards

        The criminal forfeiture statute provides that an individual convicted of a drug-related

felony or money laundering (among other crimes) “shall forfeit to the United States . . . any

property constituting, or derived from, any proceeds the person obtained, directly or indirectly,

as a result of such violation,” and any property used or intended to be used to commit or

facilitate the commission of the crime of conviction. 21 U.S.C. § 853(a)(1) & (2). Courts

construe § 853 liberally in order to effectuate its remedial purpose. United States v. Darji, 609 F.

App’x 320, 332 (6th Cir. 2015) (citing 21 U.S.C. § 853(o)).

        Criminal forfeiture is part of a defendant’s sentence, to be imposed as provided by

statute. 21 U.S.C. § 853(a); United States v. Hall, 411 F.3d 651, 654 (6th Cir. 2005). If, as here,




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the government “include[s] notice of the forfeiture in the indictment or information,” and “the

defendant is convicted of the offense giving rise to the forfeiture, the court shall order the

forfeiture of the property as part of the sentence in the criminal case,” in accordance with the

procedures set out in § 853. 28 U.S.C. § 2461(c). “The indictment . . . need not identify the

property subject to forfeiture or specify the amount of any forfeiture money judgment that the

government seeks.” Fed. R. Crim. P. 32.2(a).

        The criminal forfeiture statute creates a “rebuttable presumption” that any property of a

defendant convicted of a felony drug offense or money laundering is subject to forfeiture, so long

as the United States establishes by a preponderance of the evidence that the defendant acquired

the property “during the period of the [criminal] violation”, “or within a reasonable time after

such period”, and that “there was no likely source for such property other than” the offenses of

conviction. 21 U.S.C. § 853(d).

        Moreover, title to property subject to forfeiture vests in the United States “upon the

commission of the act giving rise to forfeiture.” 21 U.S.C. § 843(c). Consequently, if the

defendant transfers the forfeitable property to a third person after commission of the offense, that

property “may be the subject of a special verdict of forfeiture and thereafter shall be ordered

forfeited to the United States, unless the transferee establishes in a hearing . . . that he is the bona

fide purchaser for value of such property who at the time of purchase was reasonably without

cause to believe that the property was subject to forfeiture.” Id.

        In the event that property subject to forfeiture under § 853(a) cannot be located or has

been sold or transferred to a third party, “the court shall order the forfeiture of any other property

of the defendant, up to the value of any property” that has been sold or transferred or cannot be

located. Id. § 843(p)(2).




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        Finally, to protect the interests of third parties, the United States must publish notice of

any order of forfeiture and of its intent to dispose of the property. Thereafter, “[a]ny person,

other than the defendant, asserting a legal interest in property which has been ordered forfeited to

the United States pursuant to this section may . . . petition the court for a hearing to adjudicate

the validity of his alleged interest in the property.” Id. § 843(n)(2). If the third-party petitioner is

able to establish at the hearing that he or she had a valid and superior legal interest in the

property “at the time of the commission of the acts which gave rise to the forfeiture of the

property” and that “renders the order of forfeiture invalid in whole or in part,” or that he or she is

“a bona fide purchaser for value of the right, title, or interest in the property and was at the time

of purchase reasonably without cause to believe that the property was subject to forfeiture under

this section,” then the court shall amend the order of forfeiture accordingly. Id. § 843(n)(6).

        Procedurally, as noted above, the court is without authority to enter a judgment of

forfeiture unless the indictment or information contains notice to the defendant that the

government intends to seek forfeiture. Fed. R. Crim. P. 32.2(a). Assuming that that requirement

has been met, the next step, typically, is to enter a preliminary order of forfeiture. The

determination of whether a preliminary order should enter is to be made “as soon as practical”

after a jury verdict or plea of guilty, based on “whether the government has established the

required nexus between the property and the offense.” Fed. R. Crim. P. 32.2(b)(1)(A). That

determination “may be based on evidence already in the record . . . and on any additional

evidence or information . . . accepted by the court as relevant and reliable.” Fed. R. Crim. P.

32.2(b)(1)(B). If either party so requests, the court is to conduct a hearing after the verdict or

plea.

        “If the court finds that property is subject to forfeiture, it must promptly enter a




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preliminary order of forfeiture setting forth the amount of any money judgment, directing the

forfeiture of specific property, and directing the forfeiture of any substitute property if the

government has met the statutory criteria.” Fed. R. Crim. P. 32.2(b)(2)(A). Unless “impractical,”

the order is to be entered “sufficiently in advance of sentencing to allow the parties to suggest

revisions or modifications before the order becomes final as to the defendant under Rule

32(b)(4).” Fed. R. Crim. P. 32.2(b)(2)(B). Further, “[t]he court must enter the order without

regard to any third party’s interest in the property. Determining whether a third party has such an

interest must be deferred until any third party files a claim in an ancillary proceeding under Rule

32.2(c).” Fed. R. Crim. P. 32.2(b)(2)(A).

III.   Discussion

       In its first motion, the United States generally seeks a “Preliminary Order of Forfeiture”

of the defendant’s interest in the same currency and real property identified in the Bills of

Particulars. In the second, the government specifies that it seeks “an Order of Forfeiture

consisting of at least $1,000,000 United States currency Money Judgment” against the defendant.

In his response, the defendant raises only two objections. First, he seeks clarification that entry of

the $1,000,000 money judgment is not in addition to the forfeiture of other enumerated assets

and does not constitute “double dipping.” (Doc. No. 958, at 9.) Second, he objects to the

forfeiture of the real property commonly known as 45669 Harmony Lane, Belleville, Michigan,

on the basis that (1) it is the current residence of the defendant’s wife and children; (2) the

government has introduced no evidence that this home represents the proceeds of the defendant’s

offenses; and (3) the government concedes that the property is not owned by the defendant.

       A.      The Money Judgment

       The defendant asserts that the government’s proposed Order of Forfeiture Consisting of a




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Money Judgment is “potentially ambiguous in numerous ways” and seeks clarification of several

points:

          (1) Is the money judgment offset by the value of the assets that the government
          claims to be “tainted” property, or is it separate? (2) Is the money judgment offset
          by the value of the assets that the government claims to be substitute property? (3)
          Given that the government has represented in its indictment that all codefendants
          are jointly and severally liable for any forfeiture award, are Mr. Bradley and Mr.
          Buchanan (whom counsel believes to be the only remaining defendants subject to
          forfeiture awards) equally liable for this award? (And if not, is that a fatal
          variance with the indictment?) (4) Is the value of this money judgment subject to
          offset by the value of any personal or real property of Mr. Buchanan, whether
          such property is “tainted” or “substitute” property?

(Doc. No. 958, at 9–10.)

          In response to the defendant’s concerns, the United States asserts that the proposed Order

of Forfeiture expressly “provides for a limit of $1,000,000 and for the government to amend the

Order of Forfeiture to reflect any substitute property forfeited.” (Doc. No. 986, at 2.) The

government characterizes its proposed order of forfeiture as “provid[ing] that the Money

Judgment is joint and several with any other coconspirators” against whom a similar money

judgment is entered.1 The United States also represents that, “after entry of the Order of

Forfeiture, the value of the net proceeds of any specific property of Bradley or a similar situated

coconspirator that is forfeited to the government will reduce Bradley’s money judgment.” (Doc.

No. 986, at 2.)

          Contrary to the government’s representation, the United States’ proposed order of

forfeiture does not expressly provide for a limit of $1,000,000. Rather, it provides for forfeiture

of money “in the amount of at least $1,000,000 United States currency.” (Doc. No. 861-1

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          The other co-defendants against whom orders of forfeiture have been entered are
Donald Buchanan, whose Judgment specifies the forfeiture of two Rolex watches identified in
the Preliminary Order of Forfeiture (Doc. Nos. 900, 945), and Andrew Bradley Froome, whose
Judgment provided for the forfeiture of a firearm and $43,244 in currency (Doc. No. 378).



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(emphasis added).) In addition, the proposed Order is ambiguous with regard to whether the

Money Judgment is in addition to or incorporates the value of certain real property and other

assets the forfeiture of which the government seeks or has already obtained.

       The government’s response, however, appears to concede that the value of any “tainted”

assets, substitute property, and real property seized or recovered from the defendant and any co-

conspirators, including Donald Buchanan, should be applied toward the Money Judgment. (See

Doc. No. 986, at 2 (“Thus, after entry of the Order of Forfeiture, the value of the net proceeds of

any specific property of Bradley or a similarly situated coconspirator that is forfeited to the

government will act to reduce Bradley’s money judgment.”).) The court will therefore grant the

motion for entry of an order of forfeiture in the amount of up to, but not more than, $1,000,000,

specifying that the value of any other assets forfeited to or seized by the government shall be

applied toward satisfaction of the Money Judgment.

       B.      Forfeiture of Real Property

       Although the United States seeks the forfeiture of five specific parcels of real property,

the defendant disputes only the forfeiture of the parcel located at 45669 Harmony Lane (the

“Property”). He argues that (1) the United States presented no evidence at the sentencing hearing

to satisfy its burden of proving that Property is “tainted”—that is, that it was purchased from the

proceeds of the crimes of conviction or used to commit the offense; and (2) the Property does not

qualify as substitute property subject to forfeiture either, because it is not “property of the

defendant” as required by 21 U.S.C. § 853(p)(2).

               (i)    Whether the Property Qualifies as Tainted

       As set forth above, any property derived from the proceeds of the crimes of conviction or

used to commit or facilitate the commission of those crimes is subject to forfeiture. 21 U.S.C. §




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853(a)(1) & (2). Section 853 creates a rebuttable presumption that any property owned by the

defendant is subject to forfeiture, but only if the government proves by a preponderance of the

evidence that “(1) such property was acquired . . . during the period of the violation of this

subchapter . . . or within a reasonable time after such period; and (2) there was no likely source

for such property other than the violation of this subchapter or subchapter II of this chapter.” 21

U.S.C.A. § 853(d).

        At the sentencing hearing, the United States represented that it would offer “whatever

factual proof [it] ha[d] on forfeiture during this hearing.” (Doc. No. 919, at 5.) In fact, the

evidence presented at the sentencing hearing concerning the Property was very limited. IRS

Special Agent William DeSantis testified that, during the course of the conspiracy, the defendant

had a job earning approximately $55,000 per year. (Doc. No. 919, at 199.) Although DeSantis

presented evidence regarding when each of the other properties subject to forfeiture was

purchased and for how much, he had no information regarding when the defendant acquired the

Property at 45669 Harmony Lane or how much he paid for it. (See id. at 201 (“Now, we did a

title search . . . , and they could never find a recorded deed that transferred the ownership to Mr.

Bradley himself.”).) Instead, the title search yielded a recorded deed conveying the property from

the defendant to his wife, Kareema Hawkins, on April 23, 2015, approximately six weeks after

the defendant’s arrest. (Id.)

        In short, the government presented no evidence at the sentencing hearing from which the

court could conclude either that the Property was acquired during the course of the criminal

conspiracy or that there was no likely source for funds to purchase the property other than the

defendant’s criminal activity. 21 U.S.C.A. § 853(d). Moreover, the United States offered no

evidence suggesting that the Property was purchased using funds derived from the defendant’s




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criminal activity or that the Property itself was used to commit or facilitate the commission of

that crime is subject to forfeiture. 21 U.S.C. § 853(a).2 The United States therefore failed to

establish at the sentencing hearing that the Property is subject to forfeiture under § 853(a).

       In response to the defendant’s argument in that regard, the United States has submitted

the Affidavit of DeSantis, in which he attests that further investigation, apparently conducted

after the sentencing hearing, led him to the previous owner of the Property, Krikor Holding

Company, and the owner of Krikor Holding Company, Majid Krikor. Although Majid Krikor

was unable to find a deed reflecting this conveyance, Krikor allegedly told DeSantis that the

defendant purchased the Property from him in early 2014 for approximately $105,000 in gold

coins and scrap gold. (Doc. No. 986-1 ¶ 2.b.) Also attached to DeSantis’s Affidavit are a

Quitclaim Deed showing the conveyance of the Property from Wayne County, Michigan to

Krikor Holding LLC on October 18, 2012 at a tax sale for $87,499 (Doc. No. 986-2), and a print-

out from the website of the Treasurer for Wayne County, Michigan, showing that the defendant,

Benjamin Bradley, was listed as the Taxpayer for the Property in 2014. (Doc. No. 986-3.)

       The defendant objects to this evidence, and particularly to DeSantis’s report regarding

what Krikor told him, on the basis that it consists of inadmissible hearsay. (Doc. No. 996, at 3

(citing United States v. $64, 595.00 in U.S. Currency, No. 5:13-CV-265-REW, 2014 WL

5432119 (E.D. Ky. Oct. 27, 2014), and United States v. $92,203.00 in U.S. Currency, 537 F.3d

504, 508–10 (5th Cir. 2008)).) The precedent upon which the defendant relies, however,

establishes only that hearsay may be inadmissible in proceedings under the Civil Asset Forfeiture

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          At the time of sentencing, the only evidence in the record of a connection between the
Property and the drug conspiracy was that $78,300 in cash and several Rolex watches were
found at the Property in the course of a search conducted on or around the time of the
defendant’s arrest. The United States made no attempt to argue that this evidence per se is
sufficient to establish the requisite nexus between the Property and the crime to justify forfeiture.



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Reform Act of 2000 (CAFRA), 18 U.S.C. § 983.

       This court is not persuaded that the standards applicable under CAFRA—particularly

CAFRA proceedings at the summary judgment stage—have any bearing in the context of

criminal forfeiture. Those courts holding that hearsay may not be considered in ruling on a

motion for summary judgment in the CAFRA context have determined that, because the

proceeding is strictly civil, ordinary Rule 56 standards and the Federal Rules of Evidence apply.

See, e.g., $92,203.00 in U.S. Currency, 537 F.3d at 508–10. Conversely, the Federal Rules of

Evidence generally do not apply to sentencing proceedings, Fed. R. Civ. P. 1101(d)(3), and the

Supreme Court has recognized criminal forfeiture as “an element of the sentence imposed

following conviction.” Libretti v. United States, 516 U.S 29, 38 (1995). Moreover, the procedural

rules governing criminal forfeiture proceedings expressly provide that the court may consider

“evidence already in the record, including any written plea agreement, and . . . any additional

evidence or information submitted by the parties and accepted by the court as relevant and

reliable.” Fed. R. Crim. P. 32.2(b)(1)(B). Consequently, those courts to consider the question

have uniformly concluded that hearsay is admissible to establish the elements of § 853(d). See,

e.g., United States v. Jafari, 85 F. Supp. 3d 679, 684–85 (W.D.N.Y. 2015) (holding that “the

traditional rules of evidence do not apply [to criminal forfeiture proceedings], and courts may

consider hearsay and other inadmissible evidence so long as it is sufficiently reliable” (citing

Fed. R. Evid. 1101(d)(3)), aff’d, 663 F. App’x 18 (2d Cir. 2016); United States v. Evanson, No.

2:05CR00805 TC, 2008 WL 3107332, at *2 (D. Utah Aug. 4, 2008) (“Because criminal

forfeiture is viewed as part of the sentencing process, hearsay is admissible.” (citing Libretti, 516

U.S. at 38–39); United States v. Ivanchukov, 405 F. Supp. 2d 708, 709 n.1 (E.D. Va. 2005)

(noting that “the traditional rules of evidence do not apply in determining issues related to




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criminal forfeiture” (citing United States v. Higgs, 353 F.3d 281, 324 (4th Cir. 2003))).

       Although the United States clearly was dilatory in waiting until the submission of its

Reply brief to present evidence of the nexus between the Property and the drug-distribution and

money-laundering crimes to which the defendant pleaded guilty, the court will not exclude that

evidence. The defendant has had the opportunity to respond to the government’s evidence, which

he did by filing a sur-reply. He also had the opportunity to request a hearing but has not done so.

       The court finds that Agent DeSantis’s testimony about what Krikor told him about the

purchase of the Property, though hearsay, is both relevant and reliable, particularly insofar as it is

coupled with documentary evidence showing when and for what price Krikor purchased the

property and that the defendant was listed as the taxpayer on the property for the year 2014 by

the records of the Treasurer for Wayne County, Michigan. The Indictment, to which the

defendant pleaded guilty, alleges that the drug conspiracy began in 2012 and continued until

March 11, 2015. (Doc. No. 3.) In other words, reliable evidence shows that the defendant

acquired the property while the drug-distribution and money-laundering conspiracies were in full

swing. Moreover, the property was purchased by Krikor at a tax sale for $87,499 in October

2012 and its value in May 2017 is estimated to be $400,000. (Doc. No. 986-9.) That evidence

substantiates Krikor’s statement that he sold the Property to the defendant in early 2014 for

approximately $100,000. Even disregarding Krikor’s statement that the Property was purchased

primarily with gold coins and scrap gold, the fact that the defendant, who earned a salary of

$55,000, paid cash to purchase the Property for $100,000 at a time when the drug-distribution

and money-laundering conspiracies were ongoing, constitutes strong circumstantial evidence that

he purchased the house with proceeds from the criminal enterprise. The various officers’

testimony at the sentencing hearing regarding the sums of cash cycling through the various bank




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accounts implicated in the conspiracy around that time, as well as the fact that approximately

$78,300 in cash was seized from the Property on the date of the defendant’s arrest, constitutes

additional circumstantial evidence that the Property was purchased with money derived from the

criminal enterprise. Likewise, as the United States argued in support of its Motion for

Preliminary Order, the location, manner of storage and packing of the currency sought for

seizure constitutes evidence that the real property sought for forfeiture was either purchased with

the use of commingled funds or with cash that was not obtained through legitimate activity.

(Doc. No. 859, at 5.)

       Based on all of this evidence, the court finds that the United States has carried its burden

of establishing, by a preponderance of the evidence, the requisite nexus between the Property at

45669 Harmony Lane and the offenses to which the defendant has pleaded guilty. That is, the

defendant acquired the Property while the drug distribution and money laundering conspiracies

were ongoing, and there was no likely source for the funds to purchase the property other than

his criminal activity, which gives rise to a presumption that the Property was purchased from

proceeds the defendant obtained, directly or indirectly, from the crimes of conviction. 21 U.S.C.

§ 853(a) & (d). The defendant offered no evidence to rebut that presumption. The court will

therefore overrule the defendant’s objection to the forfeiture of the Property located at 45669

Harmony Lane.

               (ii) Substitute Property

       Having determined that the Property is subject to forfeiture under § 853(a), the court has

no need to address the parties’ arguments regarding whether the Property is subject to forfeiture

as substitute property under § 853(p). In any event, to the extent any third party contests the

forfeiture of the Property, she may petition the court under the procedures outlined in § 853(n) to




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adjudicate the validity of her interest in the Property.

IV.    Conclusion

       Consistent with the discussion above, the court will grant the United States’ motions. An

appropriate Order of Forfeiture is filed herewith.




                                               ____________________________________
                                               ALETA A. TRAUGER
                                               United States District Judge




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